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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

ERIC B. FROMER                            )
CHIROPRACTIC, INC., individually          )
and as the representative of a class of   )
similarly-situated persons,               )
                                          )     Civil Action No. 1:21-cv-10916
                    Plaintiff,            )
             v.                           )
                                          )
STAT TRANSCRIPTION                        )
SERVICES INC.,                            )
               Defendant.                 )


           PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff, ERIC B. FROMER

CHIROPRACTIC, INC., through its undersigned attorneys, hereby dismisses this

action without prejudice.

                                              Respectfully submitted,

                                              ERIC B. FROMER CHIROPRACTIC,
                                              INC., individually and on behalf of a
                                              class of similarly-situated persons

                                              By: s/ Ryan M. Kelly
                                              Ryan M. Kelly
                                              ANDERSON + WANCA
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                         CERTIFICATE OF SERVICE


      I hereby certify that on August 19, 2021, I electronically filed the foregoing

Notice of Voluntary Dismissal with the Clerk of the Court using the CM/ECF

system which will send notification of such filings to all counsel of record.



                                              s/ Ryan M. Kelly




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